          Case 2:18-cv-00350-JEO Document 39 Filed 06/11/18 Page 1 of 7                                 FILED
                                                                                               2018 Jun-11 AM 10:00
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA




                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION
JEREMY CARTER,                                    )
                                                  )
        Plaintiff,                                )
                                                  )
v.                                                )   Case No.: 2:18-cv-350-JEO
                                                  )
COMPANION LIFE INSURANCE                          )
COMPANY, et al.,                                  )
                                                  )
        Defendants.

                                  INITIAL ORDER
                       GOVERNING ALL FURTHER PROCEEDINGS 1

I.      Discovery

        The parties may commence discovery pursuant to the terms of Federal Rule of Civil

Procedure 26. In cases removed from state court in which discovery requests were filed before

removal, those discovery requests shall be deemed filed on the date the parties file their Rule 26

report. The parties are instructed to review Local Rule 5.3 regarding the non-filing of discovery

materials in civil cases.

        Prior to filing any motion regarding a discovery dispute, the moving party must serve the

opposing party with a letter identifying each issue and/or discovery request in dispute, stating the

moving party’s position with respect to each such issue and/or request, and specifying the terms

of the discovery order to be sought. Thereafter, counsel for the parties shall confer in person in a

good faith effort to resolve the dispute in whole or part without court intervention. In the event

1
  This Order, along with Judge Ott’s other standard orders in civil cases, is available at
http://www.alnd.uscourts.gov/content/chief-magistrate-judge-john-e-ott. The Local Rules of this
court may be accessed at http://www.alnd.uscourts.gov. The court assumes that each attorney
and pro se party who appears in this case has read the Local Rules and is prepared to comply
with them.
          Case 2:18-cv-00350-JEO Document 39 Filed 06/11/18 Page 2 of 7



the offices of the parties’ counsel are located in different counties, they may attempt to resolve

the dispute via telephone conference rather than in person. After conferring with each other, but

before filing a motion to compel, the parties may request a conference with the undersigned, if

they believe a conference may resolve their dispute without resort to a motion.

       If the parties are unable to resolve their discovery dispute, they shall prepare a joint

stipulation to be filed simultaneously with a motion to compel. The stipulation shall specifically

identify all issues and/or discovery requests in dispute and, with respect to each such issue and/or

request, state the contentions of each party, the legal authority supporting those contentions, and

how each party proposed to resolve the dispute at the conference. For example, if the sufficiency

of an answer to an interrogatory is in dispute, the stipulation shall state (1) both the interrogatory

and the allegedly insufficient answer, verbatim, (2) each party’s contentions as to that particular

interrogatory and the legal authority supporting those contentions, separately, and (3) each

party’s proposal for resolution of the dispute as to the interrogatory at the conference, separately.

       The undersigned will not consider any motion in the absence of a joint stipulation or a

declaration from counsel for the moving party establishing opposing counsel’s failure to confer

or provide the opposing party’s portion of the joint stipulation. Failure of counsel to comply

with or cooperate in the foregoing process may result in the imposition of sanctions.

II.            Electronic Submissions

       A.      CM/ECF Record

       The official record of this case is maintained electronically pursuant to CM/ECF.

Documents must be filed through CM/ECF in PDF (Portable Document Format), unless

submitted by a party appearing pro se, in which instance documents should be filed with the




                                                  2
            Case 2:18-cv-00350-JEO Document 39 Filed 06/11/18 Page 3 of 7



Clerk of Court. Except in extraordinary circumstances, all filings shall be consistent with the

Court’s Civil Administrative Procedures Manual found on the court’s website. 2

       B.       Protected Information

       Counsel are reminded to comply with the court’s Administrative Procedures Manual for

electronic filing with respect to redacting personal identifiers (e.g., Social Security numbers,

drivers’ license numbers, birth dates, addresses, telephone numbers, bank account and credit card

information) and other personal or sensitive information, in compliance with the E-Government

Act.

       When filing material under seal, parties MUST comply with the Administrative

Procedures Manual.

       C.       Required Electronic Submissions to Chambers

       Counsel must e-mail to chambers copies of all proposed orders in Word Format.

The address for the undersigned judge’s chambers is ott_chambers@alnd.uscourts.gov. Ex

parte communications are not allowed. All communications to the chambers’ email address

must show a copy to all opposing counsel or pro se parties.

III.   Motion Practice

       All motions MUST comply with all requirements of this Order. Except for good cause

shown, motions and/or briefs that do not conform to the requirements of this Order may be

stricken. The following MUST appear on the first page of every motion or brief directly below

the case number in the caption of the pleading: (1) requests for oral argument, if applicable;




2
   The Administrative Procedures Manual is available under the “CM/ECF Info” tab, or at:
http://www.alnd.uscourts.gov/sites/alnd/files/forms/ALND%20Civil%20Administrative%20Proc
edures%20Manual%20Revision%2001-2017.pdf
                                                 3
          Case 2:18-cv-00350-JEO Document 39 Filed 06/11/18 Page 4 of 7



and (2) an indication of whether the motion is OPPOSED or UNOPPOSED.                     Materials

submitted after the close of the submission schedule will not be considered absent leave of court.

     A. Format Applicable to All Motions and Briefs

       The parties’ motions and briefs shall be in Times New Roman font and 14 point type.

Footnotes may be in 12 point type. Documents shall be double-spaced; footnotes and indented

quotations that exceed three lines may be single-spaced.

       Citations to the record must refer to the document number and paragraph or line number,

where available. If the parties are unable to cite to a specific paragraph or line number, they

shall cite the document number and page number.

     B. Summary Judgment Motion Requirements

         1. Briefing Schedule

         The parties will receive a scheduling order with a deadline for filing dispositive

motions. Any motion for summary judgment, supporting brief, and evidentiary materials will be

due on or before that deadline. The responsive submission of the party opposing the motion for

summary judgment is due no later than twenty one (21) calendar days after the motion for

summary judgment is filed. The movant’s reply brief, if any, must be filed no later than fourteen

(14) calendar days after the date on which the opponent’s responsive brief was due, unless

otherwise ordered by the court.

         2. Page Limitations

         Initial and response briefs are limited to thirty (30) pages. Reply briefs are limited to

fifteen (15) pages.




                                                4
          Case 2:18-cv-00350-JEO Document 39 Filed 06/11/18 Page 5 of 7



     C. Non-Summary Judgment Motion Requirements

          1. Briefing Schedule

          A party filing a non-summary judgment motion shall either incorporate in the motion

the arguments and/or authorities upon which it relies or simultaneously file a separate brief with

its motion. The opponent’s responsive brief shall be filed no later than fourteen (14) calendar

days thereafter, unless otherwise ordered by the court. The movant’s reply brief, if any, must be

filed no later than seven (7) calendar days after the date on which the opponent’s responsive brief

was due, unless otherwise ordered by the court.

          2. Page Limitations

          Initial and responsive briefs for dispositive motions other than summary judgment shall

be limited to fifteen (15) pages, exclusive of exhibits. Reply briefs are limited to ten (10) pages.

     D. Requirements for Evidentiary Materials

     Simultaneously with their briefs, the parties must file all evidentiary materials (e.g.,

affidavits, exhibits, depositions, etc.) relied upon in support of or opposition to a motion, except

those materials included in the moving party’s initial evidentiary submission may be referenced

by any party opposing the motion without resubmitting additional copies of the same materials.

     While the court reserves the right to consider evidentiary materials that are not specifically

referenced in the brief, no party has a right to assume that the court will consider such materials.

A specific reference must include the exhibit number, page, and when appropriate, the line

number.

     Each volume of evidentiary material MUST include a table of contents that includes a brief

narrative description of each document, e.g., “Plaintiff’s Exhibit 1, the Deposition of John Doe.”

For ease of citation, each affidavit, exhibit, deposition, etc. must be separately identified by a


                                                  5
            Case 2:18-cv-00350-JEO Document 39 Filed 06/11/18 Page 6 of 7



capital letter or number (i.e., “Exhibit A” or “Exhibit 1”); and, if the exhibit contains more than

one page, each page must be separately numbered. Parties are DIRECTED to submit ENTIRE

depositions, even if only relying on an excerpt, in travel transcript format consisting of no more

than four pages of deposition text per 8 ½ by 11 inch page.

       E.       Motions to Withdraw as Counsel

       A motion to withdraw as counsel MUST include a certification that the moving attorney

has served a copy of the motion on his or her client and has informed the client of the right to file

an objection with the court within fourteen (14) calendar days of the date of the notification.

       F.       Courtesy Copies

       For all submissions exceeding thirty (30) pages (including exhibits), the filing party must

submit, within three (3) business days of filing, an exact courtesy copy of the submission,

reflecting the CM/ECF case number, document number, date, and page stamp on each

page, to the Clerk’s office for delivery to chambers. Deliveries are not accepted in the court’s

chambers. Additionally, the parties must email a copy of any brief filed with the court to

chambers in Microsoft Word format.

IV.    Suitability of Action for Alternative Dispute Resolution

      All parties should give early consideration to the possibility of settlement to avoid

unnecessary costs and fees. The court requires that all attorneys, along with their clients, make

an early analysis of the case and be prepared to discuss settlement at an early date. The parties

shall also consider and discuss whether this action may be suitable for mediation, whether under

the court’s ADR plan or otherwise. At any stage, a party may make a written request for a

settlement conference with the court if the party believes it would be conducive to settlement.




                                                 6
          Case 2:18-cv-00350-JEO Document 39 Filed 06/11/18 Page 7 of 7



V.     Particular Cases

       If a party anticipates that it may, for any reason other than as a sanction under the Federal

Rules of Civil Procedure, seek an award of fees from the opposing party pursuant to a statute or

common law or an agreement between the parties, then the party MUST comply with the

mandatory rules of fee shifting cases. Failure to comply may result in denial of a request for

attorneys’ fees.

       The undersigned’s webpage contains standard orders for fee shifting cases and cases that

involve    EEOC     charges.       The    parties   may    access    the    Court’s    website    at

http://www.alnd.uscourts.gov/content/chief-magistrate-judge-john-e-ott.

                                             DATED this 11th day of June, 2018.



                                             _________________________________
                                             JOHN E. OTT
                                             Chief United States Magistrate Judge




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